                                 UNITED STATES DISTRICT COURT
                                      Western District of North Carolina
                                            Statesville Division
                                   DOCKET NO: 5:19−cr−00021−FDW−DCK
                                                         )
 UNITED STATES OF AMERICA                                )
                                                         )                    ENTRY AND
           V.
                                                         )            ACCEPTANCE OF GUILTY PLEA
 Regulo Rangel−Gutierrez                                 )               (RULE 11 PROCEEDING)
      Defendant                                          )
                                                         )

      On the date indicated below, the defendant appeared with counsel, was duly sworn, and answered the
following questions on the record:


                                                                                                 Defendant's
Questions (asked by Magistrate Judge)                                                            Answers

1.   Do you understand that you are under oath, and that you are required to give                Yes      No
     truthful answers to the questions I am about to ask?


2.   Do you understand that if you give false information under oath you may be                  Yes      No
     prosecuted for perjury or false statement?


3.   After consulting with your attorney, do you want this Court to accept your guilty plea      Yes      No
     to one or more counts in the Bill of Indictment (or Bill of Information)?


4.   Do you understand that you have the right to have a U.S. District Judge conduct             Yes      No
     this proceeding?


5.   Recognizing your right to proceed before a District Judge, do you expressly consent         Yes      No
     to proceed in this Court, that is, before a U.S. Magistrate Judge?


6.   Are you now under the influence of alcohol, medicines, or drugs of any sort?                Yes      No


7.   Is your mind clear, and do you understand that you are here to enter a guilty plea in       Yes      No
     your case?


8.   Have you received a copy of the indictment/information and have you discussed its           Yes      No
     contents with your attorney?


                           [The charges, maximum penalties, and mandatory minimum sentences
                           (if any) were explained, on the record, at this point in the proceeding.]

9.   Do you fully understand the charge(s) against you, including the maximum (and,              Yes      No
     where applicable, minimum) penalties you face if convicted?




                  Case 5:19-cr-00021-KDB-DCK Document 6 Filed 03/18/19 Page 1 of 4
10.   Have you been advised by your attorney that if you are not a citizen of the United          Yes   No
      States, your guilty plea may have adverse immigration consequences?


11.   Have you been advised by your attorney that if you are not a citizen of the United          Yes   No
      States, your guilty plea may result in deportation or removal from the United
      States?


12.   Do you understand that entering a plea of guilty to a felony charge may deprive             Yes   No
      you, at least for a time, of certain civil rights, such as the right to vote, hold public
      office, serve on a jury, and possess a firearm?


13.   Have you spoken with your attorney about how the U. S. Sentencing Guidelines                Yes   No
      might apply to your case?


14.   Do you understand that the District Judge will not be able to determine the                 Yes   No
      applicable Sentencing Guidelines range until after your Presentence Report has
      been prepared, and you have had an opportunity to comment on it?


15.   Do you also understand that in some circumstances you may receive a sentence                Yes   No
      that is different−that is, either higher or lower−than that called for by the
      Guidelines?


16.   Do you understand that the Court may order restitution, where applicable?                   Yes   No


17.   Do you understand that if the sentence is more severe than you expected, or the             Yes   No
      Court does not accept the government's sentencing recommendation, you will still
      be bound by your plea and will have no right to withdraw it?


18.   Do you understand that parole has been abolished, and that if you are sentenced to          Yes   No
      a term of imprisonment you will not be released on parole?


19.   If your sentence includes imprisonment, do you understand that the District Judge           Yes   No
      may also order a term of "supervised release"?


20.   Do you also understand that if you violate the terms and conditions of supervised           Yes   No
      release, which typically lasts from one to five years, you could be returned to prison
      for an additional period of time?


21.   Do you understand that you have a right to plead NOT GUILTY, to have a speedy               Yes   No
      trial before a judge and jury, to summons witnesses to testify in your behalf, and to
      confront witnesses against you?


22.   If you exercised your right to trial you would be entitled to the assistance of a           Yes   No
      lawyer, would not be required to testify, would be presumed innocent, and the
      burden would be on the government to prove your guilt beyond a reasonable doubt.
      Do you understand all of these rights?




                Case 5:19-cr-00021-KDB-DCK Document 6 Filed 03/18/19 Page 2 of 4
23.   By entering this plea of guilty you are waiving (or giving up) these rights. There will        Yes   No
      be no trial. If your guilty plea is accepted, there will be one more hearing, where the
      District Judge will determine what sentence to impose.
      Do you understand that?


24.   Are you, in fact, guilty of the counts in the Bill of Indictment (or Bill of Information) to   Yes   No
      which you have come to court today to plead guilty?


25.   Have the United States and the defendant entered a Plea Agreement in this case?                Yes   No


                       [The attorneys for the Government and the Defendant summarized the terms of
                       any Plea Agreement to the Court, on the record, at this point in the proceeding.
                       However, the parties Understand that the written, filed Plea Agreement is the
                       best statement of those terms, and therefore "speaks for itself".]

26.   Do you understand those to be the terms of your Plea Agreement, and do you                     Yes   No
      agree with those terms?


27.   Has the right to appeal your conviction and/or sentence been expressly waived in               Yes   No
      the Plea Agreement?


28.   Has the right to challenge your conviction and/or sentence in a post−conviction                Yes   No
      proceeding also been expressly waived in the Plea Agreement?


29.   Is that your signature on the Plea Agreement?                                                  Yes   No


30.   Are you aware that a Factual Basis has been filed as an attachment to your Plea                Yes   No
      Agreement?


31.   Have you read this Factual Basis and do you understand it and agree with it?                   Yes   No


32.   Has anyone threatened, intimidated, or forced you to enter your guilty plea today?             Yes   No


33.   Other than the terms of your Plea Agreement, has anyone made you promises of                   Yes   No
      leniency or a light sentence to induce you to plead guilty?


34.   Have you had enough time to discuss with your attorney any possible defenses you               Yes   No
      may have to these charges?


35.   Are you satisfied with the services of your attorney in this case?                             Yes   No


36.   Is there anything you would like to say at this time about the services of your                Yes   No
      attorney?


                                         [Any statement that was made is on the record.]



                Case 5:19-cr-00021-KDB-DCK Document 6 Filed 03/18/19 Page 3 of 4
Case 5:19-cr-00021-KDB-DCK Document 6 Filed 03/18/19 Page 4 of 4
